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                         EXHIBIT 2
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                               UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        JACKSONVILLE DIVISION



NICK MOGENSEN, Individually and on             )   No. 3:12-cv-00954-HES-JRK
Behalf of All Others Similarly Situated,       )
                                               )   CLASS ACTION
                           Plaintiff,          )
                                               )
     vs.                                       )
                                               )
BODY CENTRAL CORPORATION, B.                   )
ALLEN WEINSTEIN, THOMAS STOLTZ                 )
AND BETH R. ANGELO,                            )
                                               )
                          Defendants.
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DECLARATION OF CAROLE K. SYLVESTER REA) MAILING OF THE NOTICE OF PENDENCY
OF CLASS ACTION AND PROPOSED SETTLEMENT, MOTION FOR ATTORNEYS' FEES AND
 SETTLEMENT FAIRNESS HEARING AND THE PROOF OF CLAIM AND RELEASE FORM, B)
       PUBLICATION OF THE SUMMARY NOTICE, AND C) INTERNET POSTING
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         I, Carole K. Sylvester, declare:
                             THE NOTICE AND PROOF OF CLAIM
         1.      I submit this declaration in order to provide the Court and the parties to the above-
 captioned litigation with information regarding the mailing of the Notice of Pendency of Class
 Action and Proposed Settlement, Motion for Attorneys' Fees and Settlement Fairness Hearing (the
 "Notice") and the Proof of Claim and Release form (the "Proof of Claim"), the posting of those
 documents on the Gilardi & Co. LLC ("Gilardi") website, and publication of the Summary Notice. I
 am over 21 years of age and am not a party to this action. I have personal knowledge of the facts set
 forth herein and, if called as a witness, could and would testify competently thereto.
        2.       I am employed by Gilardi, located at 3301 Kerner Blvd., San Rafael, California.
 Gilardi was retained as the Claims Administrator in this matter. I oversaw the notice services Gilardi
 provided in accordance with the Order Preliminarily Approving Settlement and Providing for Notice
 (the "Order") that was signed by the Court on October 10, 2014, in connection with the settlement of
 the above-captioned litigation. True and correct copies of the Notice and Proof of Claim are attached
 hereto as Exhibits A and B, respectively. The Notice and Proof of Claim (collectively, the "Claim
 Package") are in the form approved by the Court.
                     MAILING OF THE NOTICE AND PROOF OF CLAIM
        3.       In accordance with the Order, Gilardi received from defense counsel the list that

 they received from the transfer agent for Body Central Corporation ("Body Central"). This list

 was to contain the names and addresses of record holders of Body Central common stock during

 the period from November 10, 2011 through and including June 18, 2012, on the transfer agent's

 books. The list received from defense counsel was reviewed to identify and eliminate duplicate

 entries and incomplete data, resulting in a usable mailing list of ten names and addresses. Gilardi

 printed the unique name and address data onto Claim Packages, posted them for First-Class Mail

 prepaid, and delivered them on October 24, 2014, to the United States Post Office located in

 Santa Rosa, California. The total number of Claim Packages mailed on October 24, 2014, to

 those potential members of the class was ten.




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         4.      As part of its normal mailing procedures, Gilardi also sent Claim Packages and cover
 letters to a list of 249 brokerages, custodial banks, and other institutions (''Nominal Holders") that
 hold securities in "street name" as nominees for the benefit of their customers who are the beneficial
 owners of the securities. This list also includes a group of filers/institutions who have requested
 notification on every securities case. These Nominal Holders are included in a proprietary database
 created and maintained by Gilardi. In Gilardi's experience, the institutions included in this initial
 mailing represent a significant majority of the beneficial holders of securities. The cover letter
 accompanying the Claim Package advised the Nominal Holders of the proposed settlement and
 requested their cooperation in forwarding the Claim Package to potential class members. In the over
 25 years that Gilardi has been doing notification of securities class actions, Gilardi has found the
 majority of potential class members hold their securities in street name and are reached through the
Nominal Holders. A copy of the letter dated October 24, 2014, sent to Nominal Holders in this case,
 is attached hereto as Exhibit C.
         5.      On October 24,2014, Gilardi delivered electronic copies of the Claim Package to 444
registered electronic filers who are qualified to submit electronic claims. These filers are primarily
 institutions and third-party filers who typically file numerous claims on behalf of beneficial owners
for whom they act as trustee or fiduciary.
         6.      On October 24, 2014, Gilardi mailed 4,273 Claim Packages and cover letters to
 institutions included on the U.S. Securities and Exchange Commission's list of active brokers
 and dealers.
         7.      Gilardi caused the Claim Package to be published by the Depository Trust Company
 ("DTC") on the DTC Legal Notice System ("LENS"). LENS enables the participating bank and
 broker nominees to review the Claim Package and contact the Claims Administrator for copies of the
 Claim Package for their beneficial holders.
         8.      Gilardi has acted as a repository for shareholder and nommee mqumes and
 communications received in this action. In this regard, Gilardi has forwarded the Claim Package on
 request to nominees who held Body Central common stock for the beneficial interest of other
 persons. Gilardi has also forwarded the Claim Package directly to beneficial owners upon receipt of
 the names and addresses from such beneficial owners or nominees.



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        9.       To date, in response to the outreach efforts described above, Gilardi received 26
 responses that included computer files listing a total of6,412 names and addresses of potential class
 members.      Gilardi also received four responses that included mailing labels with names and
 addresses for mailing to an additional 76 potential class members. Six institutions requested that
 Gilardi send them a total of 820 additional Claim Packages, which they indicated they would mail
 directly to their clients who might be class members.
         10.     As of the date ofthis declaration, Gilardi has sent a total of 12,284 Claim Packages to
potential class members and nominees.
         11.     Gilardi established a toll-free number to accommodate potential class member
 inquiries. This toll-free number, 1-888-283-6643, became operational on October 24,2014.
        12.      Gilardi also posted copies of the Notice, the Proof of Claim, and the Stipulation and
Agreement       of   Settlement   on    the    case       specific   website   established   by   Gilardi
(www.bodycentralcorporationsecuritieslitigation.com) on October 24,2014.

                         PUBLICATION OF THE SUMMARY NOTICE

        13.      In accordance with the Order, Gilardi caused the Summary Notice to be published in
Investor's Business Daily and over the PR Newswire on November 4, 2014, as shown in the
Affidavits of Publication attached hereto as Exhibit D.

                       REPORT ON EXCLUSIONS RECEIVED TO DATE

        14.      In accordance with the Order, class members who wish to exclude themselves
from the class are required to do so in writing so that the request is received by Gilardi no later
than December 31, 2014. As of the date of this declaration, Gilardi has received no exclusions.



        I declare under penalty of pexjury that the foregoing is true and correct and that this
declaration was executed this 16th day of December, 2014, at San Rafael, California




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                           EXHIBIT A
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                                          UNITED STATES DISTRICT COURT
                                           MIDDLE DISTRICT OF FLORIDA
                                              JACKSONVILLE DIVISION
 NICK MOGENSEN, Individually and on Behalf of All          )   No. 3:12-cv-00954-HES-JRK
 Others Similarly Situated,                                )
                                                               CLASS ACTION
                                                           )
                             Plaintiff,
                                                           )
         vs.                                               )
                                                           )
 BODY CENTRAL CORPORATION, B. ALLEN
                                                           )
 WEINSTEIN, THOMAS STOLTZ and BETH R.
                                                           )
 ANGELO,
                                                           )
                             Defendants.                   )
 ----------------~~------------
       NOTICE OF PENDENCY OF CLASS ACTION AND PROPOSED SETTLEMENT, MOTION FOR
                   ATTORNEYS' FEES AND SETrLEMENT FAIRNESS HEARING
 TO:     ALL PERSONS WHO PURCHASED OR ACQUIRED BODY CENTRAL CORPORATION ("BODY
         CENTRAL" OR THE "COMPANY") COMMON STOCK DURING THE PERIOD FROM NOVEMBER
         10,2011, THROUGH AND INCLUDING JUNE 18,2012
 PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY. YOUR RIGHTS MAY BE AFFECTED BY
 PROCEEDINGS IN THIS ACTION. PLEASE NOTE THAT IF YOU ARE A CLASS MEMBER, YOU MAY BE
 ENTITLED TO SHARE IN THE PROCEEDS OF THE SETTLEMENT DESCRIBED IN THIS NOTICE. TO
 CLAIM YOUR SHARE OF THE SETrLEMENT PROCEEDS, YOU MUST SUBMIT A VALID PROOF OF CLAIM
 AI\JD RELEASE FORM ("PROOF OF CLAIM") POSTMARKED OR SUBMITTED ONLINE ON OR BEFORE
 JANUARY 26, 2015.
 This Notice of Pendency of Class Action and Proposed Settlement, Motion for Attorneys' Fees and Settlement
 Fairness Hearing ("Notice") has been sent to you pursuant to Rule 23 of the Federal Rules of Civil Procedure
 and an Order of the United States District Court for the Middle District of Florida, Jacksonville Division (the
 "Court"). The purpose of this Notice is to inform you of the pendency of this class action and the proposed
 settlement of the Action (the "Settlement") and of the hearing to be held by the Court to consider the fairness,
 reasonableness, and adequacy ofthe Settlement as well as counsel's application for fees, costs, and expenses.
 This Notice describes the rights you may have in connection with your participation in the Settlement, what steps
 you may take in relation to the Settlement and this class action, and, alternatively, what steps you must take if
 you wish to be excluded from the Settlement and this Action.
                  YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
 SUBMITA GbAIMFORM · · -TI"le 6flly way to get a payment Proof of Claim farms must re pestmarked or
                        submittea online on or before January 26,.2015.
 EXCLUDE YOURSELF       Get no payment. This is the only option that allows you to ever be part of any
                        other lawsuit against the Defendants or any other Released Persons about the
                        legal claims in this case. Exclusions must be received on or before December
                                 31, 2014.
 OBJECT                          Write to the Court about why you do not like the Settlement, the Plan of
                                 Distribution, and/or the request for attorneys' fees, costs, and expenses. You will
                                 still be a member of the Class. Objections mu~t be received by the Court and
                                 counsel on or before December 31, 2014.
 GO TO A HEARING                 Ask to speak in Court about the fairness of the Settlement. Requests to speak
                                 must be received by the Court and counsel on or before December 31, 2014.
 DO NOTHING                      Get no payment. Give up your rights.




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                                                SUMMARY NOTICE
         Statement of Class Recovery
           Pursuant to the Settlement described herein, a $3.425 million Settlement Fund has been established.
 Lead Plaintiff estimates that there were approximately 10.8 million shares of Body Central common stock which
 may have been damaged during the Class Period. Lead Plaintiff estimates that the average recovery under the
 Settlement is roughly $0.31 per damaged share before deduction of any taxes on the income thereof, notice and
 administration costs and the attorneys' fee, cost, and expense award as determined by the Court. A Class
 Member's actual recovery will be a proportion of the Net Settlement Fund determined by that claimant's
 Recognized Claim as compared to the total of all Recognized Claims. An individual Class Member may receive
 more or less than the average amount depending on the number of claims submitted, as estimated by Lead
 Plaintiff, when during the Class Period a Class Member purchased Body Central common stock, the purchase
 price paid, and whether those shares were held at the end of the Class Period or sold during the Class Period,
 and, if sold, when they were sold and the amount received. See Plan of Distribution as set forth at pages 9-12
 below for more information on your Recognized Claim.
         Statement of Potential Outcome of Case
        The~rties di§<3gre~on both liability and damages and do not e~~e on :the €]verageJ:Jr:nou.ntof damages
 per Body Central common share that would be recoverable if the Class prevailed on each claim alleged. The
 Defendants deny that they are liable to the Class and deny that the Class has suffered any damages.
         Statement of Attorneys' Fees, Costs, and Expenses Sought
         Lead Counsel will apply to the Court for an award of attorneys' fees not to exceed thirty percent (30%) of
 the Settlement Fund, plus costs and expenses not to exceed $50,000, plus interest earned on both amounts at
 the same rate as earned by the Settlement Fund. Since the Action's inception, Lead Counsel have expended
 considerable time and effort in the prosecution of this litigation on a contingent fee basis and advanced the
 expenses of the litigation in the expectation that if they were successful in obtaining a recovery for the Class they
 would be paid from such recovery. In this type of litigation it is customary for counsel to be awarded a
 percentage of the common fund recovery as their attorneys' fees. The requested fees, costs, and expenses
 amount to an averc~ge of approximately $0.1 0 per damaged share. The average cost per damaged share will
 vary depending on the number of acceptable Proofs of Claim submitted.
         Further Information
        For further information regarding the Action. this Notice or to review the Stipulation and Agreement of
 Settlement,    please    contact    the    Claims     Administrator     toll-free  at    1-888-283-6643,    or
 www.bodycentralcorporationsecuritieslitigation.com.
        You may also contact representatives of counsel for the Class: Rick Nelson, c/o Shareholder Relations,
 Robbins Geller Rudman & Dowd LLP. 655 West Broadway, Suite 1900, San Diego, CA92101, 1-800449-4900.
                    Please do not call the Court or Defendants with questions about the Settlement.
         Reasons for the Settlement
         The principal reason for the Settlement is the benefit to be provided to the Class now. This benefit must
 be compared to the risk that no recovery might be achieved after a contested trial and likely appeals, possibly
 years into the future.
                                              BASIC INFORMATION
I 1.     Why did I get this notice package?
        You or someone in your family may have purchased or acquired Body Central common stock during the
 time period from November 10, 2011, through and including June 18, 2012 ("Class Period"}.
        The Court directed that this Notice be sent to Class Members because they have a right to know about
 the proposed Settlement of this class action lawsuit, and about all of their options, before the Court decides




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  whether to approve the Settlement. If the Court approves the Settlement and after objections and appeals, if
  any, are resolved, the Claims Administrator appointed by the Court will make the payments provided for in the
  Settlement.
         This Notice explains the class action lawsuit, the Settlement, Class Members' legal rights, what benefits
  are available, who is eligible for them, and how to get them.
         The Court in charge of the Action is the United States District Court for the Middle District of Florida,
  Jacksonville Division, and the case is known as Mogensen v. Body Central Corporation, eta/., No. 3:12-cv-
  00954-HES-JRK. The case has been assigned to the Honorable Harvey E. Schlesinger. The individual
  representing the Class is the "Lead Plaintiff," and the company and individuals he sued are called the
  Defendants.
 I 2.     What is this lawsuit about?
          On August27, 2012, a putative class action alleging violations of federal securities laws was filed in the
  United States District Court for the Middle District of Florida, Jacksonville Division, referenced herein as the
  "Action." The Court has !3PPOinted the law firm of Robbins Geller Rudman & Dowd LLP as Lead Counsel.
            The Corrected Amended Class Action Complaint for Violations of the Federal Securities Laws (the
  "Complaint") filed in the Action on February 26, 2013 against Defendants Body Central, B. Allen Weinstein,
  Thomas Stoltz and Beth R. Angelo generally alleged, among other things, that Defendants engaged in a
  fraudulent scheme to artificially inflate the price of Body Central common stock by concealing and subsequently
  minimizing significant deteriorating merchandise conditions that negatively impacted sales and Body Central's
  financial outlook. The Complaint asserts that these allegedly false and misleading statements and omissions
  artificially inflated the price of Body Central common stock.
          The Complaint further alleged that Class Members purchased or acquired Body Central common stock
  during the Class Period at prices artificially inflated as a result of the Defendants' dissemination of materially
  false and misleading statements. The Complaint asserted claims under Sections 10(b) and 20(a) of the
  Securities Exchange Act of 1934 (the "Exchange Act"), and Rule 1Ob-5 promulgated thereunder.
            On April23, 2013, Defendants filed their Corrected Motion to Dismiss the Complaint, arguing that Lead
  Plaintiff failed to allege particularized facts showing that any challenged statement was false or misleading when
  it was made, that all of Body Central's forward-looking statements, and their factual assumptions, were protected
  by the Private Securities Litigation Reform Act of 1995's ("PSLRA") Safe Harbor provisions, and that the
  Complaint failed to plead specific facts establishing a strong inference of scienter. Defendants also filed a
  motion to take judicial notice of certain documents in connection with their motion to dismiss.
           On June 24, 2013, Lead Plaintiff filed his opposition to Defendants' motion to dismiss and a motion to
  strike certain documents submitted by Defendants in support of their motion to dismiss. Lead Plaintiff countered
  each of Defendants' arguments. and argued thatthe Complaint adequately alleged violationaofSections 10(b}
  and 20(a) of the Exchange Act.
           On July 8, 2013, Defendants filed their opposition to the motion to strike, and on July 19,2013, filed their
  reply to the motion to dismiss. On September 19, 2013, the Court issued an Order granting in part and denying
  in part both Lead Plaintiffs motion to strike and Defendants' motion for judicial notice, and gave Defendants the
  opportunity to convert their motion to dismiss to a motion for summary judgment, or to notify the Court that they
  would like it to consider their motion as a motion to dismiss.
          Defendants notified the Court that they did not wish to convert their motion to dismiss into a motion for
  summary judgment, and on March 19, 2014, the Court issued an Order granting Defendants' motion to dismiss,
  dismissing the Complaint without prejudice. The Order also provided Lead Plaintiff the opportunity to amend his
  complaint.
         On April23, 2014, Lead Plaintiff filed his Second Amended Class Action Complaint for Violations of the
  Federal Securities Laws (the "SAC"). On the same day, Lead Plaintiff filed his motion to partially modify the
  PSLRA-mandated discovery stay, seeking the documents Defendants had produced, or will produce, in




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 connection with government investigations into trading in Body Central stock during the Class Period. On May
 30, 2014, Defendants filed their motion to dismiss the SAC and their opposition to the motion to partially lift the
 discovery stay. On June 12, 2014, the Court denied Lead Plaintiffs motion to partially lift the stay.
           The parties then engaged in arm's-length negotiations in an effort to resolve the litigation, and on July
 18, 2014, executed a Settlement Term Sheet setting forth the parties' agreement-in-principle to settle the
 litigation. Lead Plaintiff notified the Court of the Settlement on the same day.
           Defendants deny each and all of the claims and contentions of wrongdoing alleged by Lead Plaintiff in
 the litigation. Defendants contend that they did not make any materially false or misleading statements, and that
 they disclosed all material information required to be disclosed by the federal securities laws, and that any
 misstatements or omissions were not made with the requisite intent or knowledge of wrongdoing. Defendants
 also contend that any losses suffered by members of the Class were not caused by any false or misleading
 statements by Defendants and/or were caused by intervening events.
I 3.     Why is this a clas$ action?
         In a class action, one or more people called the plaintiff sues on behalf of people who have similar
 claims. All of the people with similar claims are referred to as a class or class members. One court resolves the
 issues for all class memfiers, except for those who exclude themselves from the class.
I 4.     Why is there a settlement?
          The Court has not decided in favor of the Defendants or of the Class. Instead, both sides agreed to the
 Settlement to avoid the distraction, costs and risks of further litigation, and Lead Plaintiff agreed to the
 Settlement in order to ensure that Class Members will receive compensation. Continuing to litigate the case
 would require all parties to expend substantial resources. If the Action continued, fact discovery would be
 extremely expensive, both sides would likely engage expert witnesses, and Lead Plaintiff believes much of the
 proof would be highly technical, making the outcome of any trial unpredictable. Lead Plaintiff and Lead Counsel
 believe the Settlement is in the best interest of all Class Members in light of the real possibility that continued
 litigation could result in no recovery at all.
                                         WHO IS IN THE SETTLEMENT
         To see if you will get money from this Settlement, you first have to decide if you are a Class Member.
I 5.     How do I know if I am part of the Settlement?
        The Court directed that everyone who fits this description is a Class Member: all Persons who
 purchased or acquired Body Central common stock during the period from November 10. 2011. through
 and including June 18, 2012, except those Persons and entities that are excluded, as described below.
I 6.     Are there exceptions to being included?
         Excluded from the Class are the Defendants, the officers and directors of Body Central during the Class
 Period, members of their immediate families, and their legal representatives, heirs, successors or assigns, and
 any entity in which any Defendant has or had a controlling interest. Also excluded from the Class are those
 Persons who timely and validly exclude themselves therefrom by submitting a request for exclusion in
 accordance with the requirements set forth in question 13 below.
         If one of your mutual funds own Body Central common stock, that alone does not make you a Class
 Member. You are a Class Member only if you directly purchased or acquired Body Central common stock during
 the Class Period. Contact your broker to see if you have purchased or acquired Body Central common stock.
        If you sold Body Central common stock during the Class Period, that alone does not make you a Class
 Member. You are a Class Member only if you purchased or acquired Body Central common stock, as defined
 above.




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  I 7.     What if I am still not sure if I am included?
           If you are still not sure whether you are included, you can ask for free help. You can contact the Claims
   Administrator toll-free at 1-888-283-6643, or you can fill out and return the Proof of Claim form enclosed with this
   Notice package, to see if you qualify.
                                  THE SETTLEMENT BENEFITS- WHAT YOU GET
   8.      What does the Settlement provide?
            In exchange for the Settlement and the release of the Released Claims (defined below) as well as
   dismissal of the Action, Defendants have agreed that a payment of $3.425 million will be made by Defendants
   (or on their behalf) to be divided, after taxes, fees, and expenses, among all Class Members who send in a valid
   Proof of Claim form.
  I 9.     How much will my payment be?
           Your share of the fund will depend on several things, including, how many Class Members submit timely
   and valid Proof of Claim forms, the total Recognized Claims represented by the valid Proof of Claim forms that
   Class Members send in, the number of shares of Body Central common stock you purchased, how much you
   paid for the shares, when you purchased, and if you sold your shares and for how much.
            By following the instructions in the Plan of Distribution, you can calculate what is called your Recognized
   Claim. It is unlikely that you will get a payment for all of your Recognized Claim. After all Class Members have
   sent in their Proof of Claim forms, the payment you get will be a part of the Net Settlement Fund equal to your
   Recognized Claim divided by the total of everyone's Recognized Claim. See the Plan of Distribution at pages
   9-12 hereof for more information on your Recognized Claim.
                           HOW YOU GET A PAYMENT- SUBMITTING A CLAIM FORM
  110.     How can I get a payment?
            To qualify for a payment, you must submit a Proof of Claim form. A Proof of Claim form is enclosed with
   this Notice or it may be downloaded at www.bodycentralcorporationsecuritieslitigation.com. Read the
   instructions carefully, fill out the Proof of Claim form, include all the documents the form asks for, sign it, and mail
   or submit it online so that it is postmarked or received no later than January 26, 2015. The claim form may be
   submitted online at www.bodycentralcorporationsecuritieslitigation.com.
  111.     When would I get my payment?
           The Court will hold a Settlement Hearing on January 21, 2015, to decide whether to approve the
   Settlement. If the Court approves the Settlement after that, there might be appeals. It is always uncertain
   whether these appeals can beresohled. and resolving them can take time,- perhaps more than a year. It also
   takes time for all the Proofs of C1aimio be processed. Please be patient.
  112.     What am I giving up to get a payment or to stay in the Class?
           Unless you exclude yourself, you will remain a Class Member, and that means that, if the Settlement is
   approved, you will give up all "Released Claims" (as defined below), including "Unknown Claims" (as defined
   below), against the "Released Persons" (as defined below):
           •   "Released Claims" means any and all claims, demands, rights, causes of action or liabilities of every
               nature and description whatsoever (including, but not limited to, any claims for damages, interest,
               attorneys' fees, expert or consulting fees, and any other costs, expenses or liabilities whatsoever),
               whether based on federal, state, local, foreign, statutory or common law or any other law, rule,
               ordinance, administrative provision or regulation, including both known claims and unknown claims,
               whether class or individual in nature, whether fixed or contingent, accrued or unaccrued, liquidated
               or unliquidated, at law or in equity, matured or unmatured, based on, arising from or relating to (i) the
               purchase of the common stock of Body Central during the Class Period, and (ii) the allegations,




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         transactions, facts, matters, events, disclosures, registration statements, public filings, acts,
         occurrences, representations, statements, omissions or failures to act that were or could have been
         alleged by Lead Plaintiff in the Action against the Released Persons. Released Claims does not
         include claims to enforce the Settlement; nor does it include any governmental or regulatory
         agency's claims in any criminal or civil action against any of the Defendants or any claims in any
         related ERISA or derivative actions.
     •   "Released Persons" means each and all of the Defendants and each and all of their Related
         Persons.
     •   "Related Persons" means, with respect to the Defendants, each and all of their respective present or
         former parents, subsidiaries, affiliates, successors and assigns, and each and all of their and
         Defendants' respective present or former officers, directors, employees, employers, attorneys,
         accountants, financial advisors, commercial bank lenders, insurers, reinsurers, investment bankers,
         underwriters, representatives, general and limited partners and partnerships, heirs, executors,
         administrators, successors, affiliates, agents, spouses, associates, and assigns of each of them, in
         their capacity as such, or any trust of which any Defendant is the settlor or which is for the benefit of
         any Defendant and/or member(s) of his or her family and any entity in which any such Defendant
         has a contro11Tttg ·intereSt.
     •   "Unknown Claims" means any Released Claims which Lead Plaintiff or any Class Member does not
         know or suspect to exist in his, her or its favor at the time of the release of the Released Persons,
         and any claims that any Released Persons does not know or suspect to exist in his, her, or its favor
         at the time of the release of the Lead Plaintiff, each and all of the Class Members and Plaintiff's
         Counsel, which, if known by him, her or it, might have affected his, her or its settlement with and
         release of the Released Persons or Lead Plaintiff, each and all of the Class Members and Plaintiff's
         Counsel, or might have affected his, her or its decision not to object to this Settlement or seek
         exclusion. With respect to any and all Released Claims, the Settling Parties stipulate and agree
         that, upon the Effective Date, Lead Plaintiff and Defendants shall have, and each of the Class
         Members and Released Persons shall be deemed to have, and by operation of the Judgment shall
         have, expressly waived to the fullest extent permitted by law the provisions, rights, and benefits of
         California Civil Code §1542, which provides:
                        A general release does not extend to claims which the creditor does
                 not know or suspect to exist in his or her favor at the time of executing the
                 release, which if known by him or her must have materially affected his or her
                 settlement with the debtor.
         Lead Plaintiff and Defendants shall have, and each of the Class Members and Released Persons
         shall be deemed to have, and by operation of the Judgment shall have, expressly waived any and all
         provisions, rights, and benefits conferred by any law of any state or territory of the United States, or
         principle of common law, which is similar, comparable, or equivalent to California Civil Code § 1542.
         Lead Plaintiff, Class Members, and Released Persons may hereafter discover facts in addition to or
         different from those which he, she or it now knows or believes to be true with respect to the subject
         matter of the Released Claims and the claims released by the Released Persons, but Lead Plaintiff
         and Defendants shall have, and each Class Member and Released Person, upon the Effective Date,
         shall be deemed to have, and by operation of the Judgment shall have, fully, finally, and forever
         settled and released any and all Released Claims, or the claims released by the Released Persons,
         as the case may be, known or unknown, suspected or unsuspected, contingent or non-contingent,
         whether or not concealed or hidden, which now exist, or heretofore have existed, upon any theory of
         law or equity now existing or coming into existence in the future, including, but not limited to, conduct
         that is negligent, intentional, with or without malice, or a breach of any duty, law, or rule, without
         regard to the subsequent discovery or existence of such different or additional facts, whether or not
         previously or currently asserted in any action. Lead Plaintiff and Defendants acknowledge, and the
         Class Members and Released Persons shall be deemed by operation of the Judgment to have




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              acknowledged, that the foregoing waiver was separately bargained for and an essential term of the
              Settlement of which this release is a part.
          If you remain a member of the Class, all of the Court's orders will apply to you and legally bind you.
                               EXCLUDING YOURSELF FROM THE SETrLEMENT
          If you do not want a payment from this Settlement, and you want to keep the right to sue the Defendants
  and the ofher Released Persons, on your own, about the legal issues in this case, then you must take steps to
  remove yourself from the Settlement. This is called excluding yourself- or is sometimes referred to as "opting
  out."
 113.     How do I get out of the proposed Settlement?
          To exclude yourself from the Class, you must send a letter by First-Class Mail stating that you "request
  exclusion from the Class in the Body Central Securities Litigation." Your letter must include the date(s ), price(s ),
  and number(s) of all purchases and sales of Body Central common stock during the Class Period. In addition,
  you must include your name, address, telephone number, and your signature. You must submit your exclusion
  request so that it is received no later than December 31, 2014 to:
                                          Body Central Securities Litigation
                                                c/o Gilardi & Co. LLC
                                                Claims Administrator
                                                    P.O. Box990
                                           Corte Madera, CA 94976-0990
           If you ask to be excluded, you will not get any payment, and you cannot object to the Settlement. You
  will not be legally bound by anything that happens in this lawsuit, and you may be able to sue the Defendants
  and the other Released Persons in the future.
  14.   If I do not exclude myself, can I sue the Defendants and the other Released Persons for the
  same thing later?
          No. Unless you exclude yourself, you give up any rights to sue the Defendants and the other Released
  Persons for any and all Released Claims. If you have a pending lawsuit against the Released Persons speak to
  your lawyer in that case immediately. You must exclude yourself from this Action to continue your own lawsuit.
  Remember, the exclusion deadline is December 31, 2014.
 115.     If I exclude myself, can I get money from the proposed Settlement?
          No. If you exclude yourself, you may not send in a Proof of Claim to ask for any money. But, you may
  sue or be part of a different lawsuit against the Defendants and the other Released Persons.
                                    m. THE:nLAWYERS REPRESENTING YOU
 116.     Do I have a lawyer in this case?
          The Court ordered that the law firm of Robbins Geller Rudman & Dowd LLP represent the Class
  Members, including you. These lawyers are called Lead Counsel. If you want to be represented by your own
  lawyer, you may hire one at your own expense.
 j17.     How will the lawyers be paid?
           Lead Counsel will move the Court for an award of attorneys' fees in an amount not greater than thirty
  percent (30%) of the Settlement Fund and for expenses and costs in an amount not to exceed $50,000, plus
  interest on such fees, costs, and expenses at the same rate earned by the Settlement Fund. Such sums as may
  be approved by the Court will be paid from the Settlement Fund.




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                                      OBJECTING TO THE SETTLEMENT
I 18.    How do I tell the Court that I object to the proposed Settlement?
         If you are a Class Member, you can object to the proposed Settlement, the proposed Plan of Distribution,
 and/or Lead Counsel's fee, cost, and expense application. You can write to the Court setting out your objection.
 The Court will consider your views. To object, you must send a signed letter saying that you object to the
 proposed Settlement in the Body Central Securities Litigation. Be sure to include your name, address, telephone
 number, and your signature, identify the date(s), price(s), and number(s) of shares of Body Central common
 stock you purchased and sold during the Class Period, and state the reasons why you object to the proposed
 Settlement. Your objection must be filed with the Court and mailed or delivered to each of the following
 addresses such that it is received no later than December 31, 2014:
 COURT                                 LEAD COUNSEL                           DEFENDANTS' COUNSEL
 Clerk of the Court                    Ellen Gusikoff Stewart                 Jerome F. Birn, Jr.
 United States District Court          ROBBINS GELLER RUDMAN                  WILSON SONSINI
 Middle District of Florida              & DOWD LLP                             GOODRICH & ROSATI
 Jacksonville Division                 655 West Broadway, Suite 1900          Professional Corporation
 Bryan Sim~n                           San Di~o. CA 92101                     650 Page Mm Road
  U.S. Courthouse                                                             Palo Alto, CA 94304
 300 North Hogan Street
 Jacksonville, FL 32202
I 19.    What is the difference between objecting and excluding myself?
         Objecting is simply telling the Court that you do not like something about the proposed Settlement. You
 can object only if you stay in the Class. Exduding yourself is telling the Court that you do not want to be part of
 the Class. If you exclude yourself, you have no basis to object because the case no longer affects you.
                                    THE COURT'S SETTLEMENT HEARING
        The Court will hold a hearing to decide whether to approve the proposed Settlement. You may attend
 and you may ask to speak, but you do not have to.
I 20.    When and where will the Court decide whether to approve the proposed Settlement?
           The Court will hold a Settlement Hearing at 10:00 a.m., on Wednesday, January21, 2015, at the United
 States District Court for the Middle District of Florida, Jacksonville Division, Bryan Simpson U.S. Courthouse,
 300 North Hogan Street, Jacksonville, FL 32202. At the hearing the Court will consider whether the Settlement
 is fair, reasonable, and adequate. If there are objections, the Court will consider them. The Court will listen to
 people who have asked to speak at the hearing. The Court may also decide how much to pay to Lead Counsel.
 After the Settlement Hearing, the Court will decide whether to approve the Settlement. We do not know how
 long these decisions will take. You should be aware that the Court may change the date and time of the
 Settlement Hearing without another notice being sent to Class Members. If you want to attend the hearing, you
 should check with Lead Counsel beforehand to be sure that the date and/or time has not changed.
I 21.    Do I have to come to the hearing?
         No. Lead Counsel will answer questions the Court may have. But, you are welcome to come at your
 own expense. If you send an objection, you do not have to come to Court to talk about it. As long as you mailed
 your written objection on time, the Court will consider it. You may also pay your own lawyer to attend, but it is
 not necessary. Class Members do not need to appear at the hearing or take any other action to indicate their
 approval.
I 22.    May I speak at the hearing?
         If you object to the Settlement, you may ask the Court for permission to speak at the Settlement Hearing.
 To do so, you must include with your objection (see question 18 above) a statement saying that it is your "Notice




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  of Intention to Appear in the Body Central Securities Litigation." Persons who intend to object to the Settlement,
  the Plan of Distribution, and/or the application for an award of attorneys' fees, costs, and expenses and desire to
  present evidence at the Settlement Hearing must include in their written objections the identity of any witnesses
  they may call to testify and exhibits they intend to introduce into evidence at the Settlement Hearing. You cannot
  speak at the hearing if you exclude yourself.
                                                IF YOU DO NOTHING
 I 23.    What happens if I do nothing at all?
           If you do nothing, you will get no money from this Settlement. But, unless you exclude yourself, you will
  not be able to start a lawsuit or be part of any other lawsuit against the Released Persons about the legal issues
  in this case, ever again.
                                          GETTING MORE INFORMATION
 I 24.    Are there more details about the proposed Settlement?
         This Notice summarizes the proposed Settlement. More details are in a Stipulation and Agreement of
  Settlement dated August 25, 2014 (the "Settlement Agreemenr). You can get a copy of the Settlement
  Agreement and obtain answers to common questions regarding the proposed Settlement by contacting the
  Claims Administrator toll-free at: 1-888-283-6643. A copy of the Settlement Agreement is also available on the
  Claims Administrator's website at www.bodycentralcorporationsecuritieslitigation.com.
 I 25.    How do I get more information?
           For even more detailed information concerning the matters involved in this Action, reference is made to
  the pleadings, to the Settlement Agreement, to the Orders entered by the Court and to the other papers filed in
  the Action, which may be inspected at the Office of the Clerk of the United States District Court for the Middle
  District of Florida, Jacksonville Division, Bryan Simpson U.S. Courthouse, 300 North Hogan Street, Jacksonville,
  FL 32202, during regular business hours. For a fee, all papers filed in this Action are available at
  www.pacer.gov.
             PLAN OF DISTRIBUTION OF NET SETTLEMENT FUND AMONG CLASS MEMBERS
          The Settlement Amount of $3.425 million and any interest earned thereon shall be the "Settlement
  Fund." The Settlement Fund, less all taxes, approved costs, fees, and expenses (the "Net Settlement Fund")
  shall be distributed to Class Members who submit timely and valid Proof of Claim forms to the Claims
  Administrator ("Authorized Claimants").
          The Claims Administrator shall determine each Authorized Claimanfs pro rata share of the Net
  Settlement Fund based upon each Authorized Claimanfs "Recognized Claim." The Recognized Claim formula
  (below)Js notintend_ed to be an estimate of the amount of what a Clas~ Member might have been able to
  recover after a trial; nor is it an estimate of the amount that will be paid to Authorized Claimants pursuant to th&
  Settlement. The Recognized Claim formula is the basis upon which the Net Settlement Fund will be
  proportionately allocated to the Authorized Claimants. The Court may approve the Plan of Distribution, or modify
  it without additional notice to the Class. Any order modifying the Plan of Distribution will be posted on the
  settlement website at: www.bodycentralcorporationsecuritieslitigation.com.
          The following proposed Plan of Distribution reflects the assumption that the prices of Body Central
  common stock were allegedly artificially inflated during the Class Period. The Plan of Distribution was created
  with the assistance of a consulting damages expert who analyzed the movement of Body Central's common
  stock after the alleged disclosures. It takes into account the portion of the stock drops attributable to the alleged
  fraud. Accordingly, "Recognized Claims" will be calculated for purposes of the Settlement as follows:
  The calculation of daims below is not an estimate of the amount you will receive. It is a formula for
  allocating the Net Settlement Fund among all Authorized Claimants.




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The allocation below is based on the following price declines as well as the statutory PSLRA 90-day look-
back amount of $9.42:
May 4, 2012 Price Decline:       $14.04
June 18, 2012 Price Decline:     $7.77
Proposed Distribution
    1. For shares of Body Central common stock purchased or acquired on or between November 10, 2011
       through May 3, 2012, the claim per share shall be as follows:
                a)       If sold prior to May 4, 2012, the claim per share is zero.
                b)      If sold on or between May 4, 2012 through June 17, 2012, the claim per share shall be
                the lesser of: (i) $14.04 (May 4, 2012 Price Decline), or (ii) the difference between the purchase
                price and the selling price.
                c} ·      If retained at the end of June 17, 2012 and sold before September 14, 2012, the claim
                per share shall be the lesser of: (i) $21.81 (May 4, 2012 and June 18, 2012 Price Declines), or
                (ii) the difference between the purchase price and the seUingprice. or~}the difference between
                the purchase-price per share and the average dosing price per snare up to the date of sale as
                set forth in the table below.
                d)        If retained or sold on or after September 14, 2012, the claim per share shall be the lesser
                of: (i) $21.81 (May 4, 2012 and June 18, 2012 Price Declines), or (ii) the difference between the
                purchase price per share and $9.42 per share.
    2. For shares of Body Central common stock purchased or acquired on or between May 4, 2012
       through June 17,2012, the claim per share shall be as follows:
                a)       If sold prior to June 18, 2012, the claim per share is zero.
                b)      If retained at the end of June 17, 2012 and sold before September 14,2012, the claim
                per share shall be the lesser of: (i) $7.77 (June 18, 2012 Price Decline), or (ii) the difference
                between the purchase price and the selling price, or (iii) the difference between the purchase
                price per share and the average closing price per share up to the date of sale as set forth in the
                table below.
                c)        If retained or sold on or after September 14,2012, the claim per share shall be the lesser
                of: (i) $7.77 (June 18, 2012 Price Decline), or (ii) the difference between the purchase price per
                share and $9.42 per share.
    3. For shares of Body Central common stock purchased or acquired on June 18, 2012, the claim per
       share shall be•$0.00. 1 •  . · ..• , >. ..            ,. .. . .· , -· ,.. ·. ·c . • .. . .




    Please note that although the Class Period includes June 18,2012, shares of Body Central common stock that
were purchased and/or acquired on June 18, 2012 are not eligible for a recovery under the Plan of Distribution
because the disclosure made on June 18, 2012 that Lead Plaintiff alleges corrected earlier alleged misrepresentations
and omissions was made before the opening of trading that day.




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                                             Average                                                    Average
                            Closing          Closing                                   Closing          Closing
           Date               Price             Price                  Date              Price             Price
         18-Jun-12            $8.22             $8.22                2-Aug-12            $9.59           $10.00
         19-Jun-12            $8.61             $8.42                3-Aug-12            $8.22            $9.95
         20-Jun-12            $8.57             $8.47                6-Aug-12            $8.14            $9.90
         21-Jun-12            $8.47             $8.47                7-Aug-12            $8.52            $9.86
         22-Jun-12            $8.44             $8.46                8-Aug-12            $8.88            $9.83
         25-Jun-12            $8.60             $8.49                9-Aug-12            $9.17            $9.82
         26-Jun-12            $8.58             $8.50               10-Aug-12            $9.09            $9.80
         27-Jun-12            $8.73             $8.53               13-Aug-12            $8.94            $9.78
         28-Jun-12            $8.71             $8.55               14-Aug-12            $8.77             $9.75
         29-Jun-12            $9.00             $8.59               1.5-Aug-12           $8.81             $9.73
           2-Jul-12           $9.82             $8.70               16-Aug-12            $8.93             $9.71
           3...Jul-12        $10.62             $8.86               17-Aug-12            $8.82             $9.69
           5-Jul-12          $10.65             $9.00               20-Aug-12            $8.56             $9.66
           6-Jul-12          $10.61             $9.12               21-Aug-12            $8.43             $9.64
           9-Jul-12          $10.84             $9.23               22-Aug-12            $8.44             $9.61
          10-Jul-12          $10.72             $9.32               23-Aug-12            $8.37             $9.59
          11-Jul-12          $10.73             $9.41               24-Aug-12            $8.66             $9.57
          12-Jul-12          $10.92             $9.49               27-Aug-12            $8.69             $9.55
          13-Jul-12          $11.21             $9.58               28-Aug-12            $8.78             $9.54
          16-Jul-12          $11.12             $9.66               29-Aug-12            $8.83             $9.52
          17-Jul-12          $10.98             $9.72               30-Aug-12            $8.75             $9.51
          18-Jul-12          $11.13             $9.79               31-Aug-12            $8.78             $9.49
          19-Jul-12          $10.87             $9.83                4-Sep-12            $8.85             $9.48
          20-Jul-12          $11.04             $9.88                5-Sep-12            $8.89             $9.47
          23-Jul-12          $10.60             $9.91                6-Sep-12            $8.89             $9.46
          24-Jul-12          $10.32             $9.93                7-Sep-12            $9.13             $9.46
          25-Jul-12          $10.37             $9.94               10-Sep-12            $8.90             $9.45
          26-Jul-12          $10.43             $9.96               11-Sep-12            $8.93             $9.44
          27-Jul-12          $10.51             $9.98               12-Sep-12            $9.00             $9.43
          30-Jul-12          $10.50            $10.00               13-Sep-12            $9.09             $9.42
          31-Jul-12          $10.34            $10.01               14-Sep-12            $9.28             $9.42
          1-Aug-12           $10.22            $10.02
           ln th~.a evQ.I"}ta Class Member has more than one purchase or sale of Body Central common stock during
   the Class Period, all purchases and sales within the Class Period sha11 be matched on a First-In, First-Out
   ("FIFO") basis. Class Period sales will be matched first against any holdings at the beginning of the Class
   Period, and then against purchases in chronological order, beginning with the earliest purchase made during the
   Class Period.
            A purchase or sale of Body Central common stock shall be deemed to have occurred on the "contract" or
   "trade" date as opposed to the "settlemenf' or "paymenr date. The receipt or grant by gift, devise or operation of
   law of Body Central common stock during the Class Period shall not be deemed a purchase or sale of Body
   Central common stock for the calculation of an Authorized Claimant's Recognized Claim nor shall it be deemed
   an assignment of any claim relating to the purchase of such shares unless specifically provided in the instrument
   of gift or assignment. The receipt of Body Central common stock during the Class Period in exchange for
   securities of any other corporation or entity shall not be deemed a purchase or sale of Body Central common
   stock.
          To the extent a claimant had a gain from his, her, or its overall transactions in Body Central common
   stock during the Class Period, the value of the Recognized Claim will be zero.




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         Each Authorized Claimant shall be allocated a pro rata share of the Net Settlement Fund based on his,
her, or its Recognized Claim as compared to the total Recognized Claims of all Authorized Claimants. No
distribution will be made to Class Members who would otherwise receive a distribution of less than $1 0.00.
        Class Members who do not submit acceptable Proofs of Claim will not share in the Settlement proceeds.
The Settlement and the Final Judgment and Order of Dismissal with Prejudice dismissing this Action will
nevertheless bind Class Members who do not either submit a request for exclusion or submit an acceptable
Proof of Claim.
         Please contact the Claims Administrator or Lead Counsel if you disagree with any determinations made
by the Claims Administrator regarding your Proof of Claim. If you are unsatisfied with the result, you may ask
the Court, which retains jurisdiction over the claims administration process, to decide the issue by submitting a
written request.
         Distributions will be made to Authorized Claimants after all claims have been processed and after the
Court has finally approvE'}d the Settlement. If any funds remain in the Net SettLement Fund by reason of un-
cashed distribution checks or otherwise, then, after the Claims Administrator has made reasonable and diligent
efforts to have Class Members who are entitled to participate In the distribution of the Net settlement Fund cash
th~ir cfi~tributions1iillY b~f~nGe remaining in the Net Settlement Fund after at leastSix(6)montbsafterthe initial
distribution of such funds shalt be usect (a) first, to pay any amounts mistakenly omitted from the initial
disbursement; (b) second, to pay any additional settlement administration fees, costs, and expenses, including
those of Lead Counsel as may be approved by the Court; and (c) finally, to make a second distribution to
claimants who cashed their checks from the initial distribution and who would receive at least $1 0.00, after
payment of the estimated costs, expenses, or fees to be incurred in administering the Net Settlement Fund and
in making this second distribution, if such second distribution is economically feasible. These redistributions
shall be repeated until the balance remaining in the Net Settlement Fund is de minimis and such remaining
balance shall then be distributed to a non-sectarian, not-for-profit organization identified by Lead Counsel.
                 SPECIAL NOTICE TO SECURITIES BROKERS AND OTHER NOMINEES
         If you purchased Body Central common stock during the Class Period for the beneficial interest of an
individual or organization other than yourself, the Court has directed that, WITH IN TEI'J ( 10) DAYS OF YOUR
RECEIPT OF THIS NOTICE, you either (a) provide to the Claims Administrator the name and last known
address of each person or organization for whom or which you purchased such securities during such time
period or (b) request additional copies of this Notice and the Proof of Claim form, which will be provided to you
free of charge, and within ten (10) days mail the Notice and Proof of Claim form directly to the beneficial owners
of the securities referred to herein. If you choose to follow alternative procedure (b), the Court has ordered that,
upon such mailing, you send a statement to the Claims Administrator confirming that the mailing was made as
directed. You are entitled to reimbursement from the Settlement Fund of your reasonable expenses actually
incurred in connection with !h~. foregoing,, including Jeimbursement 9f postage expense anQ th~ co,s~ of
ascertaining the names and addresses of beneficial owners. Those expenses will be paid upon request and
submission of appropriate supporting documentation. All communications concerning the foregoing should be
addressed to the Claims Administrator:
                                            Body Central Securities Litigation
                                                  c/o Gilardi & Co. LLC
                                                  Claims Administrator
                                                      P.O. Box 990
                                             Corte Madera, CA 94976-0990
                                                    (1-888-283-6643)
                                  www. bodycentralcorporationsecuritieslitigation.com.

Dated: October 10, 2014                                                   BY ORDER OF THE COURT
                                                                          UNITED STATES DISTRICT COURT
                                                                          MIDDLE DISTRICT OF FLORIDA
                                                                          JACKSONVILLE DIVISION




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                            EXHIBITB
   Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 20 of 36 PageID 1654
                                                 UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                     JACKSONVILLE DIVISION
NICK MOGENSEN, Individually and on Behalf of All          )
Others Similarly Situated,                                )   1\Jo. 3:12-cv-00954-HES-JRK
                                                          )
                              Plaintiff,
                                                          )   CLASS ACTION
        vs.                                               )
                                                          )
BODY CENTRAL CORPORATION, B. ALLEN
                                                          )
WEINSTEIN, THOMAS STOLTZ and BETH R.
                                                          )
ANGELO,
                                                          )
                 Defendants.                              )
_________________________________ )

                                                 PROOF OF CLAIM AND RELEASE
                                            I.      GENERAL INSTRUCTIONS
        1.      To recover as a member of the Class based on your claims in the action entitled Mogensen v. Body Central
Corporation, eta/., No. 3: 12-cv-00954-HES-JRK (the "Action"), you must complete and, on page 6 hereof, sign this Proof of
Claim and Release. If you fail to file a properly addressed (as set forth in paragraph 3 below) Proof of Claim and Release,
postmarked or received by the date shown below, your claim may be rejected and you may be precluded from any recovery
from the Net Settlement Fund created in connection with the proposed Settlement of the Action.
        2.      Submission of this Proof of Claim and Release, however, does not assure that you will share in the proceeds
of the Settlement of the Action.
       3.     YOU MUST MAIL OR SUBMIT ONLINE YOUR COMPLETED AND SIGNED PROOF OF CLAIM AND
RELEASE, ACCOMPANIED BY COPIES OF THE DOCUMENTS REQUESTED HEREIN, NO LATER THAN JANUARY 26,
2015, TO THE COURT-APPOINTED CLAIMS ADMINISTRATOR IN THIS CASE, AT THE FOLLOWING ADDRESS:
                                             Body Central Securities Litigation
                                                   Claims Administrator
                                                   c/o Gilardi & Co. LLC
                                                       P.O. Box990
                                              Corte Madera, CA 94976-0990
                                      www.bodycentralcorporationsecuritieslitigation.com
If you are NOT a member of the Class (as defined in the Notice of Pendency of Class Action and Proposed Settlement, Motion
for Attorneys' Fees and Settlement Fairness Hearing (the "Notice")), DO NOT submit a Proof of Claim and Release form.
       4.       If you are a member of the Class and you do not timely request exclusion in connection with the proposed
Settlement, you will be bound by the terms of any judgment entered in the Action, including the releases provided therein,
WHETHER OR NOT YOU SUBMIT A PROOF OF CLAIM AND RELEASE FORM.
                                           II.     CLAIMANT IDENTIFICATION
        If you purchased the common stock of Body Central Corporation ("Body Central" or the "Company") during the period
from November 10,2011, through and including June 18,2012, and held the certificate(s) in your name, you are the beneficial
purchaser as well as the record purchaser. If, however, you purchased the common stock of Body Central during the Class
Period and the certificate(s) were registered in the name of a third party, such as a nominee or brokerage firm, you are the
beneficial purchaser and the third party is the record purchaser.           ·
        Use Part I of this form entitled "Claimant Identification" to identify each purchaser of record ("nominee"), if different
from the beneficial purchaserofthe common stockwhichformthe basis of this claim. THIS CLAIM MUST BE FILED BY THE
ACTUAL BENEFICIAL PURCHASER(S) OR THE LEGAL REPRESENTATIVE OF SUCH PURCHASER(S) OF THE BODY
CENTRAL COMMON STOCK UPON WHICH THIS CLAIM IS BASED.
          All joint purchasers must sign this claim. Executors, administrators, guardians, conservators and trustees must
complete and sign this claim on behalf of persons represented by them and their authority must accompany this claim and their
titles or capacities must be stated. The Social Security (or taxpayer identification) number and telephone number of the
beneficial owner may be used in verifying the claim. Failure to provide the foregoing information could delay verification of
your claim or result in rejection of the claim.
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         If you are acting in a representative capacity on behalf of a Class Member (for example, as an executor, administrator,
trustee, or other representative), you must submit evidence of your current authority to act on behalf of that Class Member.
Such evidence would include, for example, letters testamentary, letters of administration, or a copy of the trust documents.
          NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of transactions may requestto, or
may be requested to, submit information regarding their transactions in electronic files. All claimants MUST submit a manually
signed paper Proof of Claim and Release form listing all their transactions whether or not they also submit electronic copies. If
you wish to file your claim electronically, you must contact the Claims Administrator at 1-888-283-6643 to obtain the required
file layout. No electronic files will be considered to have been properly submitted unless the Claims Administrator issues to the
claimant a written acknowledgement of receipt and acceptance of electronically submitted data.
                                                Ill.     CLAIM FORM
         Use Part II of this form entitled "Schedule of Transactions in Body Central Common Stock" to supply all required
details of your transaction(s) in Body Central common stock. If you need more space or additional schedules, attach separate
sheets giving all of the required information in substantially the same form. Sign and print or type your name on each
additional sheet.
         On the schedules, provide all of the requested information with respect to all of your purchases, acquisitions. and
sales of Body Central common stock between November 10, 2011, and September 14, 2012, inclusive, whether such
transactions resulted in a profit or a loss. You must also provide all of the requested information with respect to all ofthe Body
Central common stock you held at the close of trading on November 9, 2011, June 18, 2012, and September 14, 2012. Failure
to report all such transactions may result in the rejection of your claim.
        List these transactions separately and in chronological order, by trade date, beginning with the earliest. You must
accurately provide the month, day and year of each transaction you list.
      For short-sale transactions, the date of covering a "short sale" is deemed to be the date of purchase of Body Central
common stock, and the date of a "short sale" is deemed to be the date of sale of Body Central common stock.
         For each transaction, you must provide, together with this claim form, copies of stockbroker confirmation slips,
stockbroker statements, or other documents evidencing your transactions in Body Central common stock. If any such
documents are not in your possession, please obtain a copy or equivalent documents from your broker because these
documents are necessary to prove and process your claim. Failure to provide this documentation could delay verification of
your claim or result in rejection of your claim.




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                                                                                                                                                                                 Must Be Postmarked
                                                                                                                                                                                 or Received
                                     Official                                                                                                                                    No Later Than
                                                                                         UNITED STATES DISTRICT COURT
                                     Office                                                                                                                                      January 26, 2015
                                                                                          MIDDLE DISTRICT OF FLORIDA
                                      Use
                                                                                             JACKSONVILLE DIVISION
                                      Only
                                                                                 Mogensen v. Body Central Corporation, eta/.,
                                                                                                      No. 3:12-cv-00954-HES-JRK
                                                                                                                                                                                 BCCORP
                                                                                         PROOF OF CLAIM AND RELEASE                                                                                              ~
II
     .----
                                                                                     Please Type or Print in the Boxes Below
                                                                                     Do NOT use Red Ink, Pencil, or Staples

                PART 1: CLAIMANT IDENTIFICATION


I
         Last Name                                                                                                     M.l.             First Name

         I       I       I   I   I    I    I    I       I                                                              D                1111111111
         Last Name (Co-Beneficial Owner)                                                                                M.l.            First Name (Co-Beneficial Owner)

         I       I       I   I   I    I    I    I       I                                                              D                1111111111
         0 IRA          0 Joint Tenancy             0 Employee                   0 Individual                                                                                        0       Other----,-______,.........--
         Company Name (Beneficial Owner -If Claimant is not an Individual) or Custodian Name if an IRA                                                                                                   (specify)

         I       I       I   I   I    I    I    I       I        I       I       I       I            I   I   I   I    I        I       I       I       I        I           I           I           I           I           I           I
         Trustee/Asset Manager/Nominee/Record Owner's Name (If Different from Beneficial Owner Listed Above)

         I       I       I   I   I    I    I    I       I        I       I       I       I            I   I   I   I    I        I       I       I       I        I           I           I           I           I
         Account#/Fund# (Not Necessary for Individual Filers)

         I       I       I   I   I    I    I    I       I        I       I       I       I            I   I   I   I    I        I
         Social Security Number                                                                           Taxpayer Identification Number

         I       I       I   1-ITJ-1                    I        I                           or           ITJ-1                 I       I       I       I        I
         Telephone Number (Primary Daytime)                                                           Telephone Number (Alternate)
         I       I       I   1-1      I   I     1- r----'1lr---r------1-----.,                        I   I   I   1-1           I       I       1- '-------JI'--------'------
         Email Address

         I       I       I   I   I    I    I    I       I        I                                    I   I   I   I    I        I       I       I       I
     .....-----MAILING I N F O R M A T I O N - - - - - - - - - - - - - - - - - - - - -
       Address

     I       I       I                                       I       I       I       I            I                                                 I        I           I           I           I           I           I           I           I
     Address

     I I                                                                                                                    I       I       I       I        I           I           I
      City                                                                                                                  State                   Zip Code

     I I                                                                                                                    I       I       I       ,. --:.-11,-----,1,-----,1,-----,-----.,
     Foreign Province                                                                    Foreign Postal Code                                                Foreign Country Name/Abbreviatio
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                                                                                                              3
II                  PART II. SCHEDULE OF
         Case 3:12-cv-00954-HES-JRK      TRANSACTIONS
                                       Document       IN BODY
                                                73-2 Filed    CENTRAL
                                                           12/17/14   COMMON
                                                                    Page       STOCK
                                                                         23 of 36 PageID 1657
                                                                                                                                                          Proof Enclosed?
                                                                                                                                                                         II
A. Number of shares of Body Central common stock held                                                                                                              Ov
   at the close of trading on November 9, 2011:                                                                                                                    ON
B. Purchases or acquisitions of Body Central common stock between November 10, 2011 and September 14, 2012, inclusive:
~---PURCHASES------------------------------------------------------------------
                                                                                                             Total Purchase or
                                                                                                        Acquisition Price (Excluding
                                                                                                            Commissions, Taxes                                     Proof of
               Trade Date(s) of Shares                                     Number of Shares             and Fees) Please round off                                Purchase
                (List Chronologically)                                   Purchased or Acquired          to the nearest whole dollar                               Enclosed?
       M     M        D    D        Y        Y        Y        Y

  1. OJ I OJ I L__l                                                                              $                                                                ~OY
                                         '-------L..____L____J                                                                                                •        ON

  2. OJ I OJ I 1'----'--------J'----'--------J                                                   $                                                                ~OY
                                                                                                                                                              •         ON

  3. OJ I OJ I L__l                                                                              $                                                                ~OY
                                        --'--------l...----'----------                                                                                        •         ON

  4. I I II OJ I .___I'-------'-------                                                           $                                                                ~OY
                                                                                                                                                              •         ON

  s.OJIOJII                                                                                      $                                                                ~OY
                                                                                                                                                              •         ON

IMPORTANT: If any purchase listed covered a "short sale," please mark Yes:                           Oves
C. Sales of Body Central common stock between November 10, 2011 and September 14, 2012, inclusive:
~----SALES------------------------------------------------------------------------
                                                                                                                Total Sales Price
                                                                                                           (Excluding Commissions,
                                                                                                                Taxes and Fees)                                    Proof of
               Trade Date(s) of Shares                                     Number of Shares                    Please round off to                                  Sales
                (List Chronologically)                                          Sold                        the nearest whole dollar                              Enclosed?
        M    M        D     D       Y        Y        Y        Y
                                                                                                                                                                  11\1\1 ov
  1. OJ I OJ I L__l                      '-------'------L____l                                   $   L__L__...l...__--'--------'-----___j__---'-------'----_j •   ~0     N

  2. I I II OJ I L__l                    '-------'------L____l
                                                                                                 $ L___L__---L.____l.____j______J_ _,_____,____J • 11\1\1 0ovN    ~


                                                                                                 $ '-----'------'------'--..______,____,___.__._____, • 11\1\1 ov
  3. OJ I OJ I '---I--'--------'------'--------'                                                                                                        ~ 0 N

  4. I I II OJ I L__l                   ...L___L_----'------'
                                                                                                 $ L___L__---L.____l.____j_____j_ _,_____,____J • 11\1\1 ov    0 N~

                                                                                                                                                        11\1\1 ov
  s.l I IIOJII                                                                                   $                                                            ·~ON

                                                                                                                                                           Proof Enclosed";
D. 1\lumber of shares of Body Central common stock held
   at the close of trading on June 18, 2012:
                                                                                                                                                                    ov
                                                                                                                                                                    ON
                                                                                                                                                           Proof Enclosed";
E. Number of shares of Body Central common stock held
   at the close of trading on September 14, 2012:
                                                                                                                                                                    ov
                                                                                                                                                                    ON
                           IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS PLEASE PHOTOCOPY THIS PAGE,
                                                         WRITE YOUR NAME ON THE COPY AND FILL THIS CIRCLE:         0
                                 IF YOU DO NOT FILL IN THIS CIRCLE THESE ADDITIONAL PAGES MAY NOT BE REVIEWED.

                                  YOU MUST READ AND SIGN THE RELEASE ON PAGE 6. FAILURE TO SIGN THE RELEASE
                                     MAY RESULT IN A DELAY IN PROCESSING OR THE REJECTION OF YOUR CLAIM.



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IICase 3:12-cv-00954-HES-JRK                       Document 73-2 Filed 12/17/14 Page 24 of 36 PageID 1658
                          YOUR SIGNATURE ON PAGE 6 WILL CONSTITUTE YOUR ACKNOWLEDGEMENT
                                    OF THE RELEASE DESCRIBED IN SECTION V. BELOW.
                    IV.        SUBMISSION TO JURISDICTION OF COURT AND ACKNOWLEDGMENTS
        I (We) submit this Proof of Claim and Release under the terms of the Settlement Agreement described in the Notice. I
also submit to the jurisdiction of the United States District Court for the Middle District of Florida, Jacksonville Division, with re:
to my (our) claim as a Class Member and for purposes of enforcing the release set forth herein. I (We) further acknowledge
am (we are) bound by and subject to the terms of any judgment that may be entered in the Action. I (We) agree to furnish addi1
information to the Claims Administrator to support this claim if requested to do so. I (We) have not submitted any other cia
connection with the purchase of Body Central common stock during the Class Period and know of no other person having dol
on my (our) behalf.
                                                                 V.      RELEASE
        1.      I (We) hereby acknowledge full and complete satisfaction of, and do hereby fully, finally and forever settle, re!
and discharge from the Released Claims each and all of the Released Persons as provided in the Settlement Agreement.
          2.      "Related Persons" means, with respect to the Defendants, each and all of their respective present or fc
parents, subsidiaries, affiliates, successors and assigns, and each and all of their and Defendants' respective present or fc
officers, directors, employees, employers, attorneys, accountants, financial advisors, commercial bank lenders, insurers, reinsl
investment bankers, underwriters, representatives, general and limited partners and partnerships, heirs, executors, administrc
successors, affiliates, agents, spouses, associates, and assigns of each of them, in their capacity as such, or any trust of whicl
Defendant is the settlor or which is for the benefit of any Defendant and/or member(s) of his or her family and any entity in whicl
such Defendant has a controlling interest.
        3.        "Released Persons" means each and all of the Defendants and each and all of their Related Persons.
         4.       "Released Claims" means any and all claims, demands, rights, causes of action or liabilities of every naturE
description whatsoever (including, but not limited to, any claims for damages, interest, attorneys' fees, expert or consulting fees
any other costs, expenses or liabilities whatsoever), whether based on federal, state, local, foreign, statutory or common law a
other law, rule, ordinance, administrative provision or regulation, including both known claims and unknown claims, whether
or individual in nature, whether fixed or contingent, accrued or unaccrued, liquidated or unliquidated, at law or in equity, ma
or unmatured, based on, arising from or relating to (i) the purchase of the common stock of Body Central during the Class PE
and (ii) the allegations, transactions, facts, matters, events, disclosures, registration statements, public filings, acts, occurre
representations, statements, omissions or failures to act that were or could have been alleged by Lead Plaintiff in the Action a~
the Released Persons. Released Claims does not include claims to enforce the Settlement; nor does it include any governm
or regulatory agency's claims in any criminal or civil action against any of the Defendants or any claims in any related ERI~
derivative actions.
          5.       "Unknown Claims" means any Released Claims which Lead Plaintiff or any Class Member does not know or su
to exist in his, her or its favor at the time of the release of the Released Persons, and any claims that any Released Person doe
know or suspect to exist in his, her, or its favor at the time of the release of the Lead Plaintiff, each and all of the Class Member:
Plaintiffs Counsel, which, if known by him, her or it, might have affected his, her or its settlement with and release of the Rele
Persons or Lead Plaintiff, each and all of the Class Members and Plaintiffs Counsel, or might have affected his, her or its de(
not to object to this Settlement or seek exclusion. With respect to any and all Released Claims, the Settling Parties stipulab
agree that, upon the Effective Date, Lead Plaintiff and Defendants shall have, and each of the Class Members and Rele
Per:sons shall be deemed to have, and by operation of the Judgment shall have, expressly waived to the fullest extent permitt'
law the provisions, rights, and benefits of California CMI Code § 1542, which provides:
                 A general release does not extend to claims which the creditor does not know or suspect to exist
         in his or her favor at the time of executing the release, which If known by him or her must have materially
         affected his or her settlement with the debtor.
Lead Plaintiff and Defendants shall have, and each of the Class Members and Released Persons shall be deemed to have
by operation of the Judgment shall have, expressly waived any and all provisions, rights, and benefits conferred by any law c
state or territory of the United States, or principle of common law, which is similar, comparable, or equivalent to California
Code §1542. Lead Plaintiff, Class Members, and Released Persons may hereafter discover facts in addition to or different
those which he, she or it now knows or believes to be true with respect to the subject matter of the Released Claims and the c
released by the Released Persons, but Lead Plaintiff and Defendants shall have, and each Class Member and Released Pe
upon the Effective Date, shall be deemed to have, and by operation of the Judgment shall have, fully, finally, and forever settle1
released any and all Released Claims, or the claims released by the Released Persons, as the case may be, known or unkr
suspected or unsuspected, contingent or non-contingent, whether or not concealed or hidden, which now exist, or heretofore
existed, upon any theory of law or equity now existing or coming into existence in the future, including, but not limited to, co
that is negligent, intentional, with or without malice, or a breach of any duty, law, or rule, without regard to the subsequent diso
or existence of such different or additional facts, whether or not previously or currently asserted in any action. Lead Plainti1
Defendants acknowledge, and the Class Members and Released Persons shall be deemed by operation of the Judgment to
acknowledged, that the foregoing waiver was separately bargained for and an essential term of the Settlement of which this re
is a part.



Ill          111111111111111111111111111111111111111111111111111111111      5
         Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 25 of 36 PageID 1659
Ill    6.      This release shall be of no force or effect unless and until the Court approves the Settlement Agreement and the
                                                                                                                                                   Ill
Settlement becomes effective on the Effective Date.
        7.        I (We) hereby warrant and represent that I (we) have not assigned or transferred or purported to assign or transfer,
voluntarily or involuntarily, any claim or matter released pursuant to this release or any other part or portion thereof.
         8.      I (We) hereby warrant and represent that I (we) have included information about all of my (our) purchases,
acquisitions, and sales of Body Central common stock between November 10, 2011 and September 14, 2012, inclusive, and the
number of shares of Body Central common stock held by me (us) at the close of trading on November 9, 2011, June 18, 2012, and
September 14, 2012.
      9.    I (WE) CERTIFY THAT I AM (WE ARE) NOT SUB~IECT TO BACKUP WITHHOLDING UNDER THE PROVISIONS
OF SECTION 3406(A)(1 )(C) OF THE INTERNAL REVENUE CODE.
   NOTE: IF YOU HAVE BEEN NOTIFIED BY THE INTERNAL REVEI\JUE SERVICE THAT YOU ARE SUBJECT TO BACKUP
WITHHOLDING, PLEASE STRIKE OUT THE LANGUAGE THAT YOU ARE NOT SUB~IECT TO BACKUP WITHHOLDING IN THE
CERTIFICATION ABOVE AND FILL THE CIRCLE. 0
    I (WE) DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT ALL
OF THE FOREGOING INFORMATION SUPPLIED ON THIS PROOF OF CLAIM AND RELEASE FORM BY THE UNDERSIGNED
IS TRUE AND CORRECT.


Executed this _ _ _ _ _ _ day of
                                                    - - - - - - - - - - - in                  - - - - - - -(City/State/Country)
                                                                                                             -------------
                                                                 (Month/Year)


 (Sign your name here)                                                              (Sign your name here)



 (Type or print your name here)                                                     (Type or print your name here)



 (Capacity of person(s) signing, e.g.,                                              (Capacity of person(s) signing, e.g.,
 Beneficial Purchaser or Acquirer, Executor or Administrator)                       Beneficial Purchaser or Acquirer, Executor or Administrator)


                             ACCURA"rE CLAIMS PROCESSING TAKES A SIGNIFICANT AMOUNT OF "riME.
                                              THANK YOU FOR YOUR PATIENCE.
 Reminder Checklist:
 1. Please sign the above release and declaration.                                  6. If you desire an acknowledgment of receipt of your claim form
 2. If this Claim is being made on behalf of Joint Claimants,                          please send it Certified Mail, Return Receipt Requested.
    then both must sign.                                                            7. If you move, please send your new address to:
 3. Remember to attach copies of supporting documentation,                                        Body Central Securities Litigation
    if available.                                                                                       c/o Gilardi & Co. LLC
 4. Do not send originals of certificates.                                                              Claims Administrator
                                                                                                            P.O. Box 990
 5. Keep a copy of your claim form and all supporting                                              Corte Madera, CA 94976-0990
    documentation for your records.
                                                                                    8. Do not use red pen or highlighter on the Proof of Claim
                                                                                       and Release form or supporting documentation.


                               THIS PROOF OF CLAIM AND RELEASE MUST BE SUBMITrED ONLINE OR
                               MAILED NO LATER THAN JANUARY 26, 2015, ADDRESSED AS FOLLOWS:
                                                        Body Central Securities Litigation
                                                              c/o Gilardi & Co. LLC
                                                              Claims Administrator
                                                                  P.O. Box 990
                                                         Corte Madera, CA 94976-0990
                                                www. bodycentralcorporationsecuritieslitigation .com


II    11111111111111111111111111111111111111111111111111111111111111111         6                                                                  Ill
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                            EXHIBITC
Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 27 of 36 PageID 1661



 3301 Kerner Blvd.
 San Rafael, CA 94901
 P: (415) 461-0410
 F: (415) 461-0412

                                                                                              October 24, 20 14


«FirstName» «LastName»
«Company»
«Addrl»
«Addr2»
South Bend, IN 4660 I
«FCountry»


Re: Body Central Securities Litigation
Dear «GENDER>> «LastName»:
Please find enclosed the Notice of Pendency of Class Action and Proposed Settlement, Motion for Attorneys'
Fees and Settlement Fairness Hearing and Proof of Claim and Release for the above referenced litigation.
Please note both the class period and the designated eligible securities described on page one of the Notice,
specifically the inclusion of all persons who purchased or acquired Body Central Corporation common stock
during the period from November 10, 2011, through and including June 18, 2012. ln addition, the Notice
provides that the Exclusion Deadline is December 31, 2014, and that the Claim Filing Deadline is
January 26, 2015.
Please pay particular attention to the "Special Notice to Securities Brokers and Other Nominees" on page
twelve of the Notice. Please do not make your own copies of the Proof of Claim Form, as copies may not be
accepted for processing. Additional copies of the appropriate documents may he requested by contacting us at
the above address and/or phone number.
If we conduct the necessary mailing on your behalf, please submit names and addresses either via email to
Notifications@Gilardi.com, via CD Rom to the above address or contact Matt Markham at (415) 458-3015 to
obtain secure FTP transmission instructions. Mailing labels will be accepted, hut you may be requested to
provide an additional copy of the address information you send. Do not include any confidential information
that should not appear on a mailing label.
The data provided must be in one of the following formats:
  • ASCD Fixed Length file
  • ASCD Tab Delimited file
  • Microsoft Excel spreadsheet
Your request must also specify the case name and Control Total(s) (for example, the total number of name and
address records provided) for each file submission. Please refer to the attached file format guidelines to ensure
your data is processed without delays.
[fyou have any questions, please call Matt Markham at (415) 458-3015.
Sincerely,

Gilardi & Co. LLC
 Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 28 of 36 PageID 1662




IASCJI Fix.ed I,epgth ~ ~ile,:~ul:npission Guiqelines .
 In the interest of ensuring the highest degree of data integrity, the preferred file format for all data submission is the ASCII
 Fixed Length or ASCII Tab Delimited file format, in the following layout.

 Please be sure to specify the case name and Control Totals, for example, the total number of accounts provided in all
 accompanying files.



             Field                  Length· "'rtfn:g Positim ~nding Position                                                Type                                              ·Description
                                                                                                                                                      .1·· ;'·

  First Name                              30                     I                                30                   Character                      Primary account holder first name
  Last Name                               30                    3I                                60                   Character                      Primary account holder last name
  Name2                                   30                    6I                                90                   Character                      Secondary name(s)
  Name3                                   30                    9I                               I20                   Character                      Secondary name(s)
  Name4                                   30                   I2I                               I 50                  Character                      Secondary name(s)
  Address I                               30                   I5I                               I80                   Character                      First address line
  Address 2                               30                   I8I                               210                   Character                      Second address line
  City                                    30                   2II                               240                   Character
  State                                    2                   24I                               242                   Character
  Zip Code                                 5                   243                               247                   Character
  Foreign Province                        30                   248                               277                   Character
  Foreign Zip Code                        10                   278                               287                   Character
  Foreign Country                         30                   288                               3I7                   Character
  E-mail Address                          75                   3I8                               392                   Character
  CUSIP                                   I5                   393                               407                   Character                      CUSIP number of the security traded.




   2   Johnny ...................... ..    · · .. · • · • · · • · · .. • · · .. · · · ·Doe·Family· Trust· • .. · .. • • • • ···c/o· Tradins·Co• .. • • • • • • • · • • • • • • .. · • • • • • · · • · • · • • .. • · · • · · .. • •
   3   John ......................... .    rRA...............................................................................................................se
   4   Mary• ....................... .     · · • · · • · • · ....... · .... • · ·Sam·Smith· · • · • · .. • • • · .. · · • · • · ·Smith·Family·Trust· .. • · .... • · • • .. • • .. · · · .. · • · • · · .. · · • · · ... · ·1~
   5   •




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                                                                                                                                                                                      Data Submission Guidelines
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  Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 29 of 36 PageID 1663




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                       Field                                                                                 Description                                    '
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                                                      .,_.,_. ~('_1; ·i   ,-                                                  ;. ·.;,   ;\,~.;              ·.
   First Name                                                 30        Character           Primary account holder first name
   Last Name                                                  30        Character           Primary account holder last name
   Name2                                                      30        Character           Secondary name(s)
   Name3                                                      30        Character           Secondary name(s)
   Name4                                                      30        Character           Secondary name(s)
   Address 1                                                  30        Character           First address line
   Address 2                                                  30        Character           Second address line
   City                                                       30        Character
   State                                                       2        Character
   Zip Code                                                    5        Character
   Foreign Province                                           30        Character
   Foreign Zip Code                                           10        Character
   Foreign Country                                            30        Character
   E-mail Address                                             75        Character
   CUSIP                                                      15        Character           CUSIP number of the security traded.




               Billy»                                                       1234·Main•Street»      »        San•Francisco» Ca»               »
     3 Johnny» Doe»    Doe·Family·                                 c/o·Trading·Co» »        999·Front·Street»       Suite·500•      San•Jose»       Ca»     94321» »
     4 John» Smith • IRA»     »                                    »        9876·Main·Blvd.»»      Edmonton»        »       »       Alberta»T6R·2J7»Canada» jsmithl!lxyz.com» 26816Q1e
     5 Mary» Smith» Sam·Smith»                                th•Family· Trust•    »        15B•Sternstrasse»       »       Hamburg»»        »      »       22609» Germany»rossmith@
     6 '




                                                                                                                                                                         Gilardi & Co. LLC
                                                                                                                                                                 Data Submission Guidelines
                                                                                                                                                                                Page3 of4
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                                                                                                                                            ,;)




Please only use Microsoft Excel file format if submitting data in ASCII Fixed Length or ASCII Tab Delimited file formats is
not feasible. However, ifyour data exceeds 65,536 rows (the Excel row limit for 2003) or 1,048,576 rows (Excel row limit
2010 & 2013), then an ASCII Fixed Length or ASCII tab delimited file is required.

Please be sure to specify the case name and Control Totals, for example, the total number of accounts provided in all
accompanying files.


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                        1   ,   Cell~o~~t .. Maximum Lengt~                                                              Des~ription

   First Name                    Text                                             30        Primary account holder first name
   Last Name                     Text                                             30        Primary account holder last name
   Name2                         Text                                             30        Secondary name(s)
   Name3                         Text                                             30        Secondary name(s)
   Name4                         Text                                             30        Secondary name(s)
   Address I                     Text                                             30        First address line
   Address2                      Text                                             30        Second address line
   City                          Text                                             30
   State                         Text                                              2
   Zip Code                      Text                                              5
   Foreign Province              Text                                             30
   Foreign Zip Code              Text                                             10
   Foreign Country               Text                                             30
   E-mail Address                Text                                             75
   CUSIP                         Text                                             15        CUSIP number of the security traded.


Sample File Screen Shot




                                                                                                                                                 Gilardi & Co. LLC
                                                                                                                                         Data Submission Guidelines
                                                                                                                                                        Page4 of4
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                               Exhibit D
Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 32 of 36 PageID 1666




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                                                     . Bryan Siinpson U.S. Courthouse
                                                       300 NOrth J;{oganStmt
                                                      Jili3ksoflvine, FL 3~o:t :
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Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 33 of 36 PageID 1667

                        INVESTOR'S BUSINESS DAILY'
                                 Affidavit of Publication


 Name of Publication:       Investor's Business Daily
 Address:                   12655 Beatrice Street
 City, Stat~. Zip:          Los Angeles, CA 90066
 Phone#:                    310.448.6700
 State of:                  California
 County of:                 Los Angeles



         I, Stephan Johnson, for the publisher of Investor's Business Daily, published
 in the city of Los Angeles, state of California, county of Los Angeles hereby certify that
 the attached notice for Gilardi & Co. LLC was printed in said publication on the
 following date:

  November 4th, 2014: BODY CENTRAL CORPORATION SECURITIES LITIGATION



 State of California
 County of Los Angeles


                                1rmed) before me on this 4th day of November. 2014,



 satisfactory evidence to be the person(s) who appeared before me.


               r/l~ C'-~ If.
 S i g n a t u r e - - - - - - - - - - - - - - - (Seal)




                                               RICHARD C. BRAND II
                                              Commission# 1923876
                                              Notary Public • California
                                                Los Angeles County
                                              Comm.           Feb 2 2015
    Case 3:12-cv-00954-HES-JRK Document 73-2 Filed 12/17/14 Page 34 of 36 PageID 1668
                                     LARKSPUR DESIGN GROUP
                                             Affidavit of Publication


I, Alan Vasquez, as Director of Larkspur Design Group in San Rafael, California, hereby certifY that I caused
the attached notice for Gilardi & Co. LLC to be published as a press release by the following wire service:

            Name of Publication:     PR Newswire
                        Address:     350 Hudson St, Ste 300
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I, Alan Vasquez, as Director of Larkspur Design Group in San Rafael, California hereby certifY that I caused
the attached Body Central Corporation notice for Gilardi & Co. LLC to be released on the following date:

            November 4, 2014




State of: California
County of: Marin

Subscribed and sworn to before me on this 15th day of December, 2014, by Alan Vasquez, who proved to me
on the basis of satisfactory evidence to be the person who appeared before me.


WITNESS my hand and official seal




S~n~N~~
)bbins Geller
         Case Rudman & Dowd LLP Announces
               3:12-cv-00954-HES-JRK      Proposed
                                      Document     Settlement
                                                 73-2         of the BodyPage
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              financial-services-listl}
             I Legal Issues (http:/lwww.prnewswire.com/news-releases/policy-public-interest-latest-newsllegal-issues-listl}




             Robbins Geller Rudman & Dowd LLP Announces Proposed
             Settlement of the Body Central Corporation Securities Litigation
             lt'M*o I8+1 II:IB
             JACKSONVILLE, Fla., Nov. 4, 2014/PRNewswire/- The following statement is being
             issued by Robbins Geller Rudman & Dowd LLP regarding the Body Central
             Corporation Securities Utigation:
                 NICK MOGENSEN, lndhridually and on Behalf of All Others Similarly Situated,   Case No. 3:12-cv-00954-
                          Plalntlff,                                                           HE$-JRK
                       vs.
                 BODY CENTRAL CORPORATION, B. ALLEN WEINSTEIN, THOMAS                          CLAss ACTION
                 STOLTZ and BETH R. ANGELO.
                           Defendants.                                                         SUMMARY NOTICE
             TO: ALL PERSONS WHO PURCHASED OR ACQUIRED BODY CENTRAL
             CORPORATION ("BODY CENTRAL") COMMON STOCK DURING THE PERIOD
             FROM NOVEMBER 10, 2011, THROUGH AND INCLUDING JUNE 18, 2012
             YOU ARE HEREBY NOTIFIED, pursuant to an Order of the United States District
             Court for the Middle District of Florida, Jacksonville Division, that a hearing will be
             held on January 21, 2015, at 10:00 a.m., before the Honorable Harvey E.
             Schlesinger, United States District Judge, at the United States District Court for the
             Middle District of Florida, Bryan Simpson U.S. Courthouse, 300 North Hogan Street,
             Jacksonville, Florida 32202, for the purpose of determining: (1) whether the proposed
             Settlement of the claims in the Action for the amount of $3,425,000.00 should be
             approved by the Court as fair, reasonable, and adequate; (2) whether a Final
             Judgment and Order of Dismissal with Prejudice f'Judgment'~ should be entered by
             the Court dismissing the Action with prejudice and releasing the Released Claims; (3)
             whether the Plan of Distribution for the Net Settlement Fund is fair, reasonable, and
             adequate and should be approved; and (4) whether the application of Lead Counsel
             for the payment of attorneys' fees, costs, and expenses should be approved.
             IF YOU PURCHASED OR ACQUIRED BODY CENTRAL COMMON STOCK
             DURING THE TIME PERIOD FROM NOVEMBER 10, 2011, THROUGH AND
             INCLUDING JUNE 18, 2012, YOUR RIGHTS WILL BE AFFECTED BY THE
             SETTLEMENT OF THIS ACTION, INCLUDING THE RELEASE AND
             EXTINGUISHMENT OF CLAIMS YOU MAY POSSESS RELATING TO YOUR
             PURCHASE OR ACQUISITION OF BODY CENTRAL COMMON STOCK DURING
             THE CLASS PERIOD. If you have not received a detailed Notice of Pendency of
             Class Action and Proposed Settlement. Motion for Attorneys' Fees and Settlement
             Fairness Hearing ("Notice'~ and a copy of the Proof of Claim and Release form, you
             may obtain copies by writing to Body Central Securities Litigation, Claims
             Administrator, c/o Gilardi & Co. LLC, P.O. Box 990, Corte Madera, CA 94976-0990, or
             on the Internet at www.bodycentralcorporationsecuritieslitigation.com
             (http://www.bodycentralcorporationsecuritieslitigation.coml). If you are a Class
             Member, In order to share in the distribution of the Net Settlement Fund, you must
             submit a Proof of Claim and Release by mail or online no later than January 26,
             2015, establishing that you are entitled to recovery.

tp://www.pmewswire.com/news-releases/robbins-geller-rudman--dowd-llp-announces-proposed-settlement-o... 12/15/20
Jbbins Geller
         Case Rudman & Dowd LLP Announces
               3:12-cv-00954-HES-JRK      Proposed
                                      Document     Settlement
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             If you purchased or acquired Body Central common stock during the Class Period
             and you desire to be excluded from the Class, you must submit a request for
             exclusion so that it is received no later than December31, 2014, in the manner and
             form explained in the detailed Notice referred to above. All members of the Class
             who do not timely and validly request exclusion from the Class will be bound by any
             judgment entered in the Action pursuant to the Stipulation and Agreement of
              Settlement.
             Any objection to the Settlement, the Plan of Distribution, or Lead Counsel's request
             for attorneys' fees, costs, and expenses, must be received by each of the following
             recipients no later than December 31, 2014:
             CLERK OF THE COURT
             UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF FLORIDA
             JACKSONVILLE DIVISION
             Bryan Simpson U.S. Courthouse
             300 North Hogan Street
             Jacksonville, FL 32202
              Lead Counsel:                        Counsel for Defendants:
              ROBBINS GELLER RUDMAN & DOWD LLP     WILSON SONSINI GOODRICH & ROSATI
              ELLEN GUSIKOFF STEWART               Professional Corporation
              655 West Broadway, Suite 1900        JEROME F. BIRN, JR.
              San Diego, CA 92101                  650 Page MDI Road
                                                   Palo Alto, CA 94304
             PLEASE DO NOT CONTACT THE COURT OR THE CLERK'S OFFICE
             REGARDING THIS NOTICE. If you have any questions about the Settlement, you
             may contact Lead Counsel at the address listed above.
             DATED: October 10, 2014
             BY ORDER OF THE COURT
             UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF FLORIDA
             JACKSONVILLE DIVISION
             SOURCE ELLEN GUSIKOFF STEWART



             RELATED LINKS
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